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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
            Plaintiff,                               §
VS.                                                  §   CRIMINAL ACTION NO. C-06-546-01
                                                     §
DANIEL CLAUDIO GARZA,                                §
                                                     §
            Defendant.                               §

      MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

           A detention hearing has been held in accordance with the Bail Reform Act, 18 U.S.C. § 3142(f).

The following requires detention of the defendant pending trial in this case:

           (1)      There is probable cause to believe the defendant committed an offense for which a

maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841(b)(1)(A); and

           (2)      The defendant has not rebutted the presumption that no condition or combination of

conditions will reasonably assure the safety of the community.

           The evidence against the defendant meets the probable cause standard. The findings and

conclusions contained in the Pretrial Services Report are adopted. The defendant's criminal history

reflects an almost unbroken steady employment in drug dealing, even when on probation. This history

indicates that the defendant is either unwilling or unable to comply with court-ordered conditions of

release.

           The defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a

reasonable opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the Government, the person in charge of the corrections facility


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shall deliver the defendant to the United States marshal for the purpose of an appearance in connection

with a court proceeding.

        ORDERED this 20th day of September, 2006.




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